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                     EXHIBIT “A”
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                      IN THE STATE COURT OF DEKALB COUNTY

                                      STATE OF GEORGIA


 AHMED FAWY and NEDAA ELGIZAWY,

                     Plaintiffs,                       CIVIL ACTION
                                                                 22A00312
 v.                                                    FILE NO.: ______________________

 GALVAN DRIVER SERVICE, LLC and
 GUSTAVO D. GALVAN,

                    Defendants.                          JURY TRIAL DEMANDED



                                           COMPLAINT

       COMES NOW Ahmed Fawy and Nedaa Elgizawy, Plaintiffs, and hereby files this

complaint against Defendants, Galvan Driver Service, LLC and Gustavo D. Galvan, and

respectfully shows the court as follows:

                                   PARTIES AND JURISDICTION

                                                  1.

       Plaintiff Ahmed Fawy (“Plaintiff”) is a resident of Gwinnett County, Georgia and is subject

to the venue and jurisdiction of this Court.

                                                  2.

       Plaintiff Nedaa Elgizawy (“Plaintiff’s Spouse”) is a resident of a Gwinnett County, Georgia

and is subject to the venue and jurisdiction of this Court.

                                                  3.

       Defendant Galvan Driver Service, LLC (“Galvan Driver Service”) is an interstate motor

carrier and foreign “for-profit” profit limited liability company existing under the laws of the state

of Massachusetts with its principal place of business in New Bedford, Massachusetts, and may be



                                                 [1]                                                 STATE COURT OF
                                                                                                  DEKALB COUNTY, GA.
                                                                                                     1/26/2022 9:26 AM
                                                                                                               E-FILED
                                                                                                       BY: Monica Gay
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served through its registered agent, 242 State Street, Apt. 2, New Bedford, MA 02740, and is

subject to the venue and jurisdiction of this Court as a joint tortfeasor pursuant to the Georgia

Nonresident Motorists Act, O.C.G.A. § 40-12-1 et seq, and O.C.G.A. § 9-10-91, as well as

O.C.G.A. § 14-2-510, et seq.

                                                    4.

       At all times material hereto, Defendant Galvan Driver Service was and is engaged in

business as an interstate motor carrier transporting goods for compensation and does business in

Georgia.

                                                    5.

       At all times material to this action, Defendant Galvan Driver Service was a for hire motor

carrier authorized by the United States Department of Transportation and the Federal Motor

Carrier Safety Administration to operate for profit and transport goods in interstate commerce.

                                                    6.

       Defendant Gustavo D. Galvan (“Defendant Gustavo Galvan”) is a resident of Bristol

County, Massachussetts and is subject to the venue and jurisdiction of the Court pursuant to

O.C.G.A. § 9-10-31 as a joint tortfeasor. Defendant Gustavo Galvan may be served with a copy

of the complaint and summons at 242 State Street, Apt. 2, New Bedford, MA 02740.

                                                    7.

       At all times material hereto, Defendant Gustavo Galvan was operating a commercial motor

vehicle as a professional, licensed driver charged with a duty to operate commercial motor vehicle

with the requisite professional standard of care.

                                                    8.

       Jurisdiction and venue are proper in this court.




                                                [2]
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                                         BACKGROUND

                                                  9.

       On or about August 6, 2021, at approximately 10:00 a.m., Plaintiff was traveling eastbound

on Interstate 285 (I-285) in Dekalb County, Georgia.

                                                 10.

       On or about the same day and time, Defendant Gustavo Galvan was operating a tractor-

trailer owned by himself while within the course and scope of his employment as a driver for

Defendant Galvan Driver Service.

                                                 11.

       On this date and time, Defendant Gustavo Galvan was driving eastbound Interstate 285 (I-

285) in Dekalb County, Georgia, beside Plaintiff’s motor vehicle.

                                                 12.

       On this date and time, Defendant Gustavo Galvan negligently drove his tractor-trailer

directly into the driver’s side of Plaintiff’s vehicle, causing extensive property damage.

                                                 13.

       Defendant Gustavo Galvan was failing to keep a proper lookout ahead.

                                                 14.

       Defendant Gustavo Galvan improperly changed lanes.

                                                 15.

       As a result of the collision, Plaintiff suffered bodily injury.

                                                 16.

       There was nothing Plaintiff could have done to avoid the collision.




                                                 [3]
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                                                  17.

        As a result of the collision, Plaintiff’s property was severely damaged and rendered

unusable.

                                              COUNT I

 NEGLIGENCE AND NEGLIGENCE PER SE OF DEFENDANT GUSTAVO GALVAN

                                                  18.

        Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

17 above as if fully restated.

                                                  19.

        At all times material hereto, Defendant Gustavo Galvan was a professional driver with a

commercial driver’s license operating a commercial motor vehicle under the Georgia laws and

regulations for such drivers as well as the Federal laws and regulations for such drivers.

                                                  20.

        Defendant Gustavo Galvan was negligent in the following manner:

        (a) improperly changing lanes in violation of O.C.G.A. §40-6-48;

        (b) failure to exercise due care in violation of O.C.G.A. § 40-6-241;

        (c) failing to maintain a proper lookout; and

        (d) in any other manner which may be shown at trial.

                                                  21.

        Defendant Gustavo Galvan was further negligent in failing to exercise due care in the

operation of his tractor-trailer and in colliding with Plaintiff’s vehicle.




                                                  [4]
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                                                 22.

        Defendant Gustavo Galvan’s negligence is the sole and proximate cause of the collision

and of Plaintiff’s resulting injuries.

                                             COUNT II

                                         IMPUTED LIABILITY

                                                 23.

        Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

22 above as if fully restated.

                                                 24.

        At the time of the collision, Defendant Gustavo Galvan was under dispatch for Defendant

Galvan Driver Service.

                                                 25.

        At the time of the subject collision, Defendant Gustavo Galvan was operating his vehicle

on behalf of Defendant Galvan Driver Service.

                                                 26.

        Defendant Galvan Driver Service is an interstate contract motor carrier, and pursuant to

federal and state laws, is responsible for the actions of Defendant Gustavo Galvan in regard to the

collision described in this complaint under the doctrine of lease liability, agency, apparent agency,

respondeat superior or any combination thereof.




                                                 [5]
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                                             COUNT III

           NEGLIGENT HIRING, RETENTION, TRAINING & SUPERVISION

                                                  27.

        Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1

through 26 above as if fully restated.

                                                  28.

        Defendant Galvan Driver Service was negligent in failing to put Defendant Gustavo

Galvan through proper training to operate the commercial tractor-trailer.

                                                  29.

        Defendant Galvan Driver Service was negligent in continuing to allow Defendant Gustavo

Galvan to operate as a tractor-trailer driver upon receipt of prior knowledge that he was unsafe,

not properly trained, or otherwise unfit to drive a tractor-trailer.

                                                  30.

        Defendant Gustavo Galvan, as owner of Galvan Driver Service, LLC, was negligent in not

hiring and retaining a properly trained tractor-trailer driver for Galvan Driver Service, LLC, and

entrusting himself with driving a commercial vehicle and failing to get proper training was the sole

and proximate cause of the collision, and Plaintiff’s resulting injuries.

                                             DAMAGES

                                                  31.

        Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

30 above as if fully restated.




                                                  [6]
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                                                   32.

          As a result of Defendants’ negligence, Plaintiff suffered severe and permanent bodily

injury.

                                                   33.

          As a result of Defendants’ negligence, Plaintiff has incurred past medical expenses and

will continue to incur future medical expense.

                                                   34.

          As a result of Defendants’ negligence, Plaintiff has been unable to work and has a claim

for past and future lost wages.

                                                   35.

          As a result of Defendants’ negligence, Plaintiff’s property has been damaged and Plaintiff

has not been compensated.

                                                   36.

          As a result of Defendants’ negligence, Plaintiff’s spouse has suffered damages in the form

loss of service and loss of consortium from Plaintiff due to his bodily injuries.

                                                   37.

          Defendants’ negligence is the sole and proximate cause of Plaintiff’s injuries and

damages.

                                              COUNT V

                                       PUNITIVE DAMAGES

                                                   38.

          Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

37 above as if fully restated.




                                                   [7]
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                                                39.

       Defendants’ conduct was reckless, willful and wanton, and demonstrates a conscious

indifference to the consequences of their actions and entitles Plaintiff to an award of punitive

damages.

       WHEREFORE, Plaintiffs pray that they have trial on all issues and judgment against

Defendants as follows:

       (a)    That Plaintiff recover the full value of past and future medical expenses and past

              and future lost wages in an amount to be proven at trial;

       (b)    That Plaintiff recover for mental and physical pain and suffering and emotional

              distress in an amount to be determined by the enlightened conscience of the jury;

       (c)    The Plaintiff recover for physical damage and destruction of his property in an

              amount to be proven at trial;

       (d)    That Plaintiff’s spouse recover for loss of consortium damages in an amount to be

              determined by the enlightened conscience of the jury;

       (e)    That Plaintiffs recover punitive damages in an amount to be determined by the

              enlightened conscience of a jury;

       (f)    That Plaintiffs recover such other and further relief as is just and proper; and


       (f)    That all issues be tried before a jury.


       This the 26th day of January, 2022.
                                              Respectfully submitted:

                                              ALI AWAD LAW, P.C.


                                              /s/ Tim O. Henshaw
                                              TIM O. HENSHAW
                                                                               STATE COURT OF
                                                                               DEKALB COUNTY, GA.
                                                [8]                            1/26/2022 9:26 AM
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                                    State Bar No. 835848
                                    Attorney for Plaintiff

200 Peachtree Street NW
Suite 201
Atlanta, GA 30303
P: (833) 254-2923 ext. 724
F: (706) 528-5090
tim@aliawadlaw.com




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